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Attorney for the Plaintiffs


                              UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO

 REBECCA GOMPERTS, a licensed
 physician, and AID ACCESS, GmbH, a              Case No.:
 corporation,

        Plaintiffs,                              VERIFIED COMPLAINT

 vs.

 ALEX M. AZAR, II, in his official capacity
 as Secretary, United States Department of
 Health and Human Services, and his
 employees, agents and successors in office;
 UNITED STATES FOOD AND DRUG
 ADMINISTRATION, a governmental
 agency; NORMAN SHARPLESS, in his
 official capacity as the Acting Commissioner
 of Food and Drugs, and his employees, agents
 and successors in office; JANET
 WOODCOCK, M.D., in her official capacity
 as the Director – Center for Drug Evaluation
 and Research, and her employees, agents and
 successors in office; THOMAS CHRISTL, in
 his official capacity as the Former Director,
 Office of Drug Security, Integrity, and
 Response, Center for Drug Evaluation and
 Research and his employees, agents and
 successors in office; and ILISA
 BERNSTEIN, in her official capacity as the
 current Acting Director, Office of Drug

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 Security, Integrity, and Response, Center for
 Drug Evaluation and Research and her
 employees, agents and successors in office,

        Defendants.



        Plaintiffs, by and through their undersigned attorney, RICHARD A. HEARN, HEARN

LAW, PLC, bring this Complaint on behalf of themselves and women seeking to induce a medical

abortion during the early stages of their pregnancies residing in all 50 states, including Idaho, and

the District of Columbia against the above-named Defendants, their employees, agents, and

successors in office and in support thereof allege the following:

                                 PRELIMINARY STATEMENT

   1. For many women seeking to terminate their unwanted pregnancies prior to viability, the

        only practical option is found on the internet.

   2. Plaintiffs Dr. Rebecca Gomperts and Aid Access help such women in the U.S. exercise

        their constitutionally protected right to safely terminate their pregnancies prior to

        viability.

   3. Defendants are actively using the power of the U.S. government to deny Plaintiffs’

        patients their constitutionally protected right to terminate their unwanted pregnancies

        prior to viability.

                                 JURISDICTION AND VENUE

   4.     This Court has subject matter jurisdiction over Plaintiffs’ federal claims under Article III

          of the Constitution and 28 U.S.C. § 1331, as a civil action arising under the laws of the

          United States; 28 U.S.C. 1346(a)(2), as a civil action against the federal government; 28

          U.S.C. § 1343(a)(4), as a civil action to secure equitable or other relief under any Act of



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        Congress providing for the protection of civil rights; and 5 U.S.C. § 702, as a civil action

        seeking judicial review of a final agency action.

   5.   Plaintiffs’ action for declaratory and injunctive relief is authorized by 28 U.S.C. §§ 2201,

        2202 and 1361, Federal Rules of Civil Procedure 57 and 65, and by the inherent equitable

        powers of this Court.

   6.   There exists an actual and justiciable controversy between Plaintiffs and Defendants

        requiring resolution by this Court and Plaintiffs have no adequate remedy at law.

   7.   This Court has authority to award costs and attorneys’ fees under 28 U.S.C. § 2412.

   8.   Venue is proper in the District of Idaho pursuant to 28 U.S.C. §§ 1391(b) and (e)(1), and

        1402(a)(1), because this is a civil action in which Defendants are an agency, or officers

        of an agency, of the United States, because a substantial part of the events or omissions

        giving rise to this action occurred in the District, and because many of Dr. Gomperts’

        patients -- all of whom are women seeking to induce medical abortions of their

        pregnancies prior to viability -- are residents of the State of Idaho.

                                           PARTIES

   A. Plaintiffs

   9.   Plaintiff Rebecca Gomperts (“Dr. Gomperts”) is a licensed physician practicing medicine

        in Europe. She currently resides in Wien, Austria and Amsterdam, the Netherlands.

   10. Dr. Gomperts received her medical training in Amsterdam, the Netherlands.

   11. In 2011, Dr. Gomperts completed her Master’s in Public Policy at Princeton University

        and, in 2014, Dr. Gomperts completed her Ph.D. at the Karolinska Institute in Sweden.

   12. Dr. Gomperts is licensed to practice medicine in Austria.




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   13. Dr. Gomperts is the founder and Director of both “Women on Waves” and “Women on

        Web.”

   14. Dr. Gomperts founded Women on Web in 2005 to support women living in countries

        where safe abortion was not available.

   15. Women on Web provides access to both information and prescriptions for abortion pills

        to women living in countries where safe abortions are not available.

   16. Women on Web has never provided prescriptions for abortion pills to women living in

        the United States.

   17. Each year, Women on Web answers more than 120,000 emails from women around the

        world.

   18. Plaintiff Aid Access (“Aid Access”) is a Gesellshaft mit beshränkter Haftung (“GmbH”)

        incorporated in Austria since December 2018.

   19. Dr. Gomperts is the founder and Director of Aid Access.

   20. Dr. Gomperts founded the website Aid Access to serve women with unwanted first

        trimester pregnancies globally in early 2018.

   21. Aid Access and Dr. Gomperts have operated the web page “aidaccess.org.”

   22. As a licensed physician providing medical abortions to women in the United States, Dr.

        Gomperts brings this case on behalf of all her present and future pregnant patients seeking

        a medical abortion prior to viability who reside in the United States.

   B. Defendants

   23. Defendant Alex M. Azar, II, (“Azar”), who is being sued in his official capacity only as

        Secretary, United States Department of Health and Human Services (“HHS”), is




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        responsible for administering and enforcing the federal Food, Drug, and Cosmetic Act

        (“FDCA”).

   24. Defendant United States Food and Drug Administration (“FDA”) is an agency of the

        United States Government within HHS and has offices in Washington D.C. and Silver

        Springs, Maryland. The Secretary of HHS has delegated to the FDA the authority to

        administer the relevant provisions of the FDCA.

   25. Defendant Norman Sharpless (“Sharpless”), who is being sued in his official capacity

        only as the Acting Commissioner of Food and Drugs, is responsible for supervising the

        activities of the FDA. Defendant Sharpless maintains offices in Washington D.C. and

        Silver Springs, Maryland.

   26. Defendant Janet Woodcock, M.D. (“Woodcock”), who is being sued in her official

        capacity only, is the Director of the Center for Drug Evaluation and Research (“CDER”).

        Defendant Woodcock, as the Director of the CDER, oversees various scientific and

        medical regulatory operations of the FDA. Defendant Woodcock maintains offices in

        Washington D.C. and Silver Springs, Maryland.

   27. Defendant Thomas Christl (“Christl”), who is being sued in his official capacity only,

        was the Director of Drug Security, Integrity, and Response in the CDER, at least through

        the spring of 2019. Among the responsibilities of the Office of Drug Security, Integrity,

        and Response in the FDA’s CDER is to ensure that drug importation and exportation

        adhere to federal laws and regulations. Defendant Christl maintained an office in Silver

        Springs, Maryland.

   28. Defendant Ilisa Bernstein, (“Bernstein”), who is being sued in her official capacity only,

        is the current acting Director of Drug Security, Integrity, and Response in the CDER.



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        Among the responsibilities of the Office of Drug Security, Integrity, and Response in the

        FDA’s CDER is to ensure that drug importation and exportation adhere to federal laws

        and regulations. Defendant Bernstein maintains an office in Silver Springs, Maryland.

                                 FACTUAL ALLEGATIONS

   A. FDA Restrictions on the Distribution of Mifepristone and Misoprostol

   29. Since September of 2000, Misoprostol and mifepristone marketed in the United States

        under the name “Mifeprex” has been approved by the U.S. Food and Drug

        Administration (“FDA”) to induce medical abortions during the early stages of

        pregnancies.

   30. But, despite the strong findings on the safety and efficacy of misoprostol and

        mifepristone from the clinical trials and European post-marketing experience, the FDA

        only approved Mifeprix under a highly restricted distribution system as a condition of

        approval.

   31. The restricted distribution system for Mifeprex imposed by the FDA is known as Risk

        Evaluation and Mitigation Strategy (REMS).

   32. The FDA-approved REMS program for Mifeprex also included an Element to Assure

        Safe Use (ETASU) which has remained essentially unchanged since 2000.

   33. Among the more significant restrictions imposed by the FDA on the distribution of

        Mifeprex under its REMS and ETASU programs are the following:

        a. Only healthcare providers who have been certified by Mifeprex’s distributor may

           prescribe Mifeprex;

        b. To be certified to prescribe Mifeprex, the healthcare providers must attest that they

           have (1) the ability to date a pregnancy and diagnose an ectopic pregnancy, (2) made



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             plans for the patient to receive surgical abortion care in cases of incomplete abortion

             or severe bleeding, and (3) ensured that the patient has access to medical facilities

             equipped to provide blood transfusions and resuscitation, if necessary;

        c. To be certified to prescribe Mifeprex, the healthcare provider must also agree to

             provide the patient with the Medication Guide and Patient Agreement, discuss the

             Patient Agreement with the patient, have the patient sign the Patient Agreement, and

             sign the Patient Agreement as well; and

        d.   Mifeprex may not be dispensed through any retail pharmacy. Instead, Mifeprex may

             only be dispensed in certain health care settings, specifically clinics, medical offices,

             and hospitals, by and under the supervision of a prescriber specially certified to

             prescribe Mifeprex as described above.

   34. Despite the FDA’s approval of Mifeprex almost 20 years ago, access to medical abortions

        for women in the early stages of pregnancy remains severely restricted in the United

        States.

   35. The REMS and ETASU imposed by the FDA on Mifeprex has been and continues to be

        an undue burden on the rights of U.S. women to terminate their unwanted pregnancies

        during the early stages of their pregnancies.

   36. Because of the high cost of in-clinic abortion services and the limited availability of

        misoprostol and mifepristone in the U.S. as a result of the REMS and ETASU imposed

        by the FDA on Mifeprex, many women in the U.S. have been forced to use the internet

        to obtain misoprostol and mifepristone to end their unwanted pregnancies.

   37. Access to medical abortions is most restricted in geographically large and primarily rural

        states like Idaho where the number of physicians certified to prescribe Mifeprex is small.



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   38. The burden of these restrictions imposed by the FDA on medical abortions falls primarily

        on women who live in rural or medically underserved areas, have low income, are

        experiencing domestic abuse and/or are young.

   39. Because women in Idaho are especially burdened by the FDA imposed restrictions on

        medical abortions, many women in Idaho have contacted Aid Access and Dr. Gomperts

        for help in ending their unwanted pregnancies prior to viability.

   B. Aid Access and Dr. Gomperts.

   40. Between March 30, 2018, and August 27, 2019, Aid Access has been contacted through

        its website forty thousand, six hundred ninety-one (40,691) times about medical

        abortions.

   41. Since March 30, 2018, Dr. Gomperts -- through Aid Access – has consulted with women

        in all 50 states and the District of Columbia.

   42. Between March 30, 2018, when Aid Access began accepting requests for assistance with

        unwanted pregnancies over the internet, and August 27, 2019, thirty-seven thousand,

        seventy-seven (37,077) women in the U.S. have contacted Aid Access.

   43. Between March 30, 2018 and August 27, 2019, Dr. Gomperts has prescribed two

        medicines, i.e., misoprostol and mifepristone, for seven thousand, one hundred thirty-one

        (7,131) of those women in the U.S.

   44. Since March 30, 2018, one hundred twenty-seven (127) women residing in Idaho have

        contacted Aid Access and Dr. Gomperts has prescribed medicine (misoprostol and

        mifepristone) to induce a medical abortion of their pregnancies prior to viability for

        thirty-nine (39) of those women residing in Idaho.




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   45. Before women contacting Aid Access are prescribed medication (misoprostol and

        mifepristone) to induce a medical abortion, each woman’s medical history is thoroughly

        reviewed by Dr. Gomperts.

   46. If, after review of all the information available, Dr. Gomperts believes in her professional

        judgment as a licensed physician that the woman can safely have a medical abortion, Dr.

        Gomperts will provide that woman with a prescription for the appropriate dose of

        mifepristone and misoprostol with explicit and detailed instructions on how to safely take

        these medications.

   47. The women prescribed mifepristone and misoprostol by Dr. Gomperts are provided

        instructions on how to get their prescriptions for misoprostol and mifepristone delivered

        to them in the U.S.

   48. Dr. Gomperts’ patients are directed to send their prescriptions to a merchant exporter of

        prescription medications in India, N N Agencies.

   49. N N Agencies has been in business since 1997 and exports medicine to approximately

        one hundred (100) different countries including the U.S.

   50. N N Agencies exports approximately one thousand, five hundred (1,500) different kinds

        of medicine from India.

   51. N N Agencies only exports drugs which have been approved by “FDA India.”

   52. N N Agencies has been exporting prescription medication out of India for approximately

        two decades.

   53. Under Indian law, N N Agencies is allowed to legally export small quantities of drugs

        for a patient’s personal use.




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   54. To date, N N Agencies has never received any notice from the FDA or any other U.S.

        governmental agencies questioning their practices.

   55. The source of the personal supply of mifepristone and misoprostol (M/s INTAS

        PHARMACEUTICALS LTD., BHAGHEY KHOLA, MAJHITAR, RANGO, EAST-

        SIRRAM – 737132) exported to Dr. Gomperts’ patients holds a valid Drug

        Manufacturing License by the Government of Sikkem, India and has been certified as

        following Good Manufacturing Practices (GMP) in the manufacturing and testing of

        General Tablets and Capsules as per the World Health Organization (WHO)

        specifications. The WHO GMP CERTIFICATE is attached to the Complaint as “Exhibit

        A.”

   56. All forms required by the Customs and Border Protection and/or U.S. Postal Service are

        accurately and fully completed by N N Agencies prior to shipping the packages

        containing medicine to Dr. Gomperts’ patients.

   57. The Customs Declaration on the packages exported from India to Dr. Gomperts’ patients

        in the U.S. accurately describe the contents of those packages as “Personal Supply of Rx

        Medicines.”

   C. FDA Letter

   58. The FDA Warning Letter (“FDA Letter”) addressed to “aidaccess.org” dated March 8,

        2019, is attached to this Complaint as “Exhibit B.”

   59. The subject of the FDA Letter is shown as “Causing the Introduction of a Misbranded

        and Unapproved New Drug into Interstate Commerce.”

   60. According to the first sentence of the FDA Letter, Defendant FDA “recently reviewed

        your website, http://www.aidaccess .org, and determined that you caused the introduction



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        into interstate commerce of misbranded and unapproved new drugs in violation of

        sections 301(a), 301(d), and 505(a) of the Federal Food, Drug, and Cosmetic Act (FD&C

        Act) [21 U.S.C. §§ 331(a), 331(d), and 355(a)].”

   61. In the final section of the FDA Letter, Defendant Christl states that “[t]his letter is not

        intended to identify all the ways in which your activities might be in violation of U.S.

        law. You should promptly cease causing the sale of unapproved new drugs and

        misbranded drugs to U.S. consumers and correct all other violations of the FD&C Act.”

   62. The FDA Letter concluded with the following threat: “Failure to correct these violations

        may result in FDA regulatory action, including seizure or injunction, without further

        notice.”

   63. The FDA Letter addressed to Aidaccess.org is from Defendant FDA and was signed by

        Defendant Christl as the Director of the Office of Drug Security, Integrity, and Response,

        Office of Compliance, Center for Drug Evaluation and Research, Food and Drug

        Administration.

   64. Dr. Gomperts is shown as having been cc’d on the FDA Letter.

   65. The FDA letter dated March 8, 2019, caused Dr. Gomperts and Aid Access to temporarily

        discontinue providing medical abortions for women in the U.S. for almost two months,

        from March 17, 2019, until May 10, 2019.

   66. Between March 17, 2019, and May 10, 2019, Dr. Gomperts and Aid Access were forced

        to deny help to hundreds of women in the U.S. who were seeking to terminate their

        pregnancies prior to viability.




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   67. Despite the risk to herself and her patients, Dr. Gomperts restarted providing medical

        abortions to women seeking to terminate their pregnancies prior to viability in the U.S.

        on May 10, 2019, and has continued to do so since then.

   68. Since receiving the FDA Letter dated March 8, 2019, Dr. Gomperts believes that the

        FDA has seized between three and ten individual doses of misoprostol and mifepristone

        prescribed for between three and ten of her patients residing in the U.S. Dr. Gomperts’

        belief as to the number of packages likely seized by the FDA is based upon tracking

        information for the packages and communications from her patients.

   69. Since receiving the FDA Letter dated March 8, 2019, transfers of funds between Dr.

        Gomperts and Aid Access and Dr. Gomperts’ patients in the U.S. have been blocked on

        multiple occasions without explanation and Plaintiffs believe, based upon information

        and belief, that the blocking of these transfers between Dr. Gomperts and her patients has

        been at the direction of the FDA. (Patients have been blocked from using Moneygram,

        Xoom, Riamoneytransfer and XE to make payments to Aid Access).

   70. After receiving the FDA Letter, Dr. Gomperts and Aid Access received notice from two

        business entities -- WorldRemit and Transferwise – previously used by Dr. Gomperts

        and Aid Access to transfer payments from Dr. Gomperts’ patients in the U.S. that these

        businesses would no longer do business with Aid Access.

   71. Because neither WorldRemit nor Transferwise offered any explanation as to why they

        were now refusing to transfer funds to Aid Access, Plaintiffs reasonably believe both did

        so at the suggestion or direction of the FDA or other agencies in the U.S. government.




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   72. Defendant Christl also signed a letter to counsel for Aid Access and Dr. Gomperts dated

        April 16, 2019, acknowledging receipt of counsel’s letter requesting additional time to

        respond to the FDA Letter.

   73. Counsel for Plaintiffs responded to the FDA Warning Letter on May 16, 2019. A copy

        of Plaintiffs’ counsel’s response (“Plaintiffs’ Response Letter”) is attached to this

        Complaint as “Exhibit C.”

   74. Sometime between April and August of 2019, Defendant Ilisa Bernstein became the

        acting Director of Drug Security, Integrity, and Response in the CDER.

   75. As of the date of this Complaint, neither Defendants Christl nor Bernstein have formally

        responded to Plaintiffs’ Response Letter dated May 16, 2019.

   D. Indictment of Ursula Wing in the U.S District Court for the Western District of
      Wisconsin.

   76. On June 26, 2019 -- less than six weeks after Plaintiffs’ Response Letter was sent to the

        FDA -- Ursula Wing (“Wing”) was indicted in the Western District of Wisconsin for

        importing foreign sourced versions of mifepristone and misoprostol into the U.S. for

        resale both inside and outside the U.S. A copy of the Ursula Wing Indictment is attached

        to the Complaint as “Exhibit D.”

   77. Wing was indicted for allegedly causing the introduction of foreign sourced versions of

        mifepristone and misoprostol, i.e., misbranded and unapproved new drugs, into interstate

        commerce in violation of 21 U.S.C. § 331(a).

   78. 21 U.S.C. §331(a) is the identical statute cited in the FDA Letter threatening Dr.

        Gomperts and Aid Access.

   79. Based upon the seizure by the U.S. Department of Homeland Security, Customs and

        Border Protection and/or the U.S. Postal Inspection Service of three shipments of

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        allegedly misbranded misoprostol and mifepristone sent from India in 2018, Wing was

        also charged with conspiracy under 18 U.S.C. § 371.

   80. According to the Ursula Wing Indictment, the U.S. Food and Drug Administration (FDA)

        is the federal agency charged with administering and enforcing the laws and regulations

        pertaining to the Federal Food, Drug and Cosmetic Act (FDCA).

   81. According to the Ursula Wing Indictment, the U.S. Department of Homeland Security,

        Customs and Border Protection agency (CBP) is the federal agency charged with

        administering and enforcing the laws and regulations pertaining to the import and export

        of merchandise, including drugs, into and out of, the United States.

   82. According to the Ursula Wing Indictment, whenever drugs falling under the jurisdiction

        of the FDA are declared or offered from import into the United States, the CBP notifies

        the FDA to determine whether the drug should be sampled and whether importation of

        the drug was lawful under the FDCA.

   83. According to the Ursula Wing Indictment, the U.S. Postal Inspection Service (USPIS) is

        the federal agency charged with administering and enforcing the laws pertaining to the

        use of the U.S. mail.

   84. In the FDA Letter addressed to Aid Access and cc’d to Dr. Gomperts, the FDA claims to

        have “determined that [Aid Access and Dr. Gomperts] cause the introduction into

        interstate commerce of misbranded and unapproved new drugs in violation of . . . 21

        U.S.C. §§ 331(a), 331(d), and 355(a).”

   85. Since receiving the FDA Letter dated March 8, 2019, Dr. Gomperts and Aid Access have

        had between three and ten of the packages containing misoprostol and mifepristone

        prescribed for between three and ten pregnant women in the U.S. seized by the U.S.



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        Department of Homeland Security, Customs and Border Protection and/or the U.S. Postal

        Inspection Service at the direction of the FDA.

   86. The actual or threatened seizure of packages containing misoprostol and mifepristone

        prescribed by Dr Gomperts for pregnant women in the U.S. by the U.S. Department of

        Homeland Security, Customs and Border Protection and/or the U.S. Postal Inspection

        Service at the direction of the FDA as described above imposes significant burdens on

        Dr Gomperts’ patients’ access to abortions prior to viability that are not justified by the

        statutes’ purported benefits and therefore impose an undue burden on those women’s

        right to an abortion.

   87. All of the packages containing medicine prescribed by Dr. Gomperts for pregnant women

        seeking medical abortions in the U.S. that have been seized by the U.S. Department of

        Homeland Security, Customs and Border Protection and/or the U.S. Postal Inspection

        Service at the direction of the FDA had been legally exported by N N Agencies from

        India.

   88. If convicted of violating 21 U.S.C. § 331(a) “with the intent to defraud or mislead,” Dr.

        Gomperts, like Wing, could “be imprisoned for not more than three years or fined not

        more than $10,000 or both” pursuant to 21 U.S.C. § 333(a)(2).

   89. Pursuant to 18 U.S.C. § 371, Dr. Gomperts’ patients in the U.S. seeking medical

        abortions may be prosecuted, like Wing is currently being prosecuted, by the federal

        government for conspiracy to violate 21 U.S.C. § 331(a).

   90. Regardless of whether Dr. Gomperts’ patients seeking medical abortions in the U.S. are

        ever prosecuted under federal law, those pregnant women identified as Dr. Gomperts’




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        patients by CBP and/or USPIS could be subjected to prosecution under state law by state

        prosecutors in the states where they reside.

   91. The threat of criminal charges being filed against Dr. Gomperts and/or her patients as

        described above imposes significant burdens on Dr Gomperts’ patients’ access to

        abortions prior to viability that are not justified by the statutes’ purported benefits and

        therefore impose an undue burden on those women’s right to an abortion.

                                   CLAIMS FOR RELIEF

                                          COUNT I
                     (Substantive Due Process – Patients’ Right to Privacy)


   92. The allegations contained in paragraphs 1 through 91 above are incorporated as though

        fully set forth herein.

   93. The seizing of medicine prescribed by Dr. Gomperts for women in the U.S. who are

        seeking to terminate their unwanted pregnancies prior to viability by the FDA or other

        federal agencies at the FDA’s direction as threatened in the FDA Letter dated March 8,

        2019, violates Dr. Gomperts and her U.S. patients’ rights to liberty and privacy as

        guaranteed by the due process clause of the Fifth Amendment to the U.S. Constitution

        by imposing significant burdens on the rights of those women who chose -- in

        consultation with their physician -- to terminate their pregnancies, thereby imposing an

        undue burden on those women’s right to abortion.

   94. The blocking of transfers of funds between Dr. Gomperts’ patients and Dr Gomperts

        and/or Aid Access by the FDA or other federal agencies at the FDA’s direction as

        threatened in the FDA Letter dated March 8, 2019, violates Dr. Gomperts’ U.S. patients’

        rights to liberty and privacy as guaranteed by the due process clause of the Fifth



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        Amendment to the U.S. Constitution, thereby imposing an undue burden on those

        women’s right to abortion.

   95. The prosecution of Dr. Gomperts and/or any of her patients in the United States under 21

        U.S.C. §§ 331(a) and/or 331(d) would violate Dr. Gomperts and her U.S. patients’ rights

        to liberty and privacy as guaranteed by the due process clause of the Fifth Amendment

        to the U.S. Constitution by imposing significant burdens on the rights of those women

        who chose -- in consultation with their physician -- to terminate their pregnancies,

        thereby imposing an undue burden on those women’s right to abortion.

   96. The prosecution of Dr. Gomperts and any of her patients in the United States under 18

        U.S.C § 371 for conspiring to violate 21 U.S.C. §§ 331(a) and/or 331(d) would violate

        Dr. Gomperts and her U.S. patients’ rights to liberty and privacy as guaranteed by the

        due process clause of the Fifth Amendment to the U.S. Constitution by imposing

        significant burdens on the rights of those women who chose -- in consultation with their

        physician -- to terminate their pregnancies, thereby imposing an undue burden on those

        women’s right to abortion.

                                         COUNT II
                                      (Equal Protection)

   97. The allegations contained in paragraphs 1 through 96 above are incorporated as though

        fully set forth herein.

   98. The seizing of medicine prescribed by Dr. Gomperts for women in the U.S. who are

        seeking to terminate their unwanted pregnancies during the early stages of those

        pregnancies by the FDA or other federal agencies at the FDA’s direction as threatened in

        the FDA Letter dated March 8, 2019, violates Dr. Gomperts’ U.S. patients’ right to equal

        protection under the Fifth Amendment to the United States Constitution by treating Dr.

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        Gomperts’ patients differently from other similarly situated parties without a sufficient

        state interest.

   99. The blocking of transfers of funds between Dr. Gomperts’ patients and Dr Gomperts

        and/or Aid Access by the FDA or other federal agencies at the FDA’s direction as

        threatened in the FDA Letter dated March 8, 2019, violates Dr. Gomperts’ U.S. patients’

        rights to equal protection under the Fifth Amendment to the United States Constitution

        by treating Dr. Gomperts and her patients differently from other similarly situated parties

        without a sufficient state interest.

   100. The prosecution of Dr. Gomperts and/or any of her patients in the United States under 21

        U.S.C. §§ 331(a) and/or 331(d) would violate Dr. Gomperts’ and her U.S. patients’ right

        to equal protection under the Fifth Amendment to the United States Constitution by

        treating Dr. Gomperts and her patients differently from other similarly situated parties

        without a sufficient state interest.

   101. The prosecution of Dr. Gomperts and any of her patients in the United States under 18

        U.S.C § 371 for conspiring to violate 21 U.S.C. §§ 331(a) and/or 331(d) would violate

        Dr. Gomperts’ and her U.S. patients’ right to equal protection under the Fifth Amendment

        to the United States Constitution by treating Dr. Gomperts and her patients differently

        from other similarly situated parties without a sufficient state interest.


                                        COUNT III
              (Administrative Procedures Act – Contrary to Constitutional Right)


   102. The allegations contained in paragraphs 1 through 101 above are incorporated as though

        fully set forth herein.




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   103. The FDA Letter and other agency action and inaction described herein constituted final

        agency action for which Dr. Gomperts and/or Dr. Gomperts’ patients have no other

        adequate remedy within the meaning of 5 U.S.C. § 704.

   104. The FDA Letter and other agency action and inaction described herein is contrary to Dr.

        Gomperts’ and/or Dr. Gomperts’ patients’ constitutional rights, including their rights

        under the Fifth Amendment to the U.S. Constitution in violation of 5 U.S.C. § 706(2)(B).


                                        COUNT IV
              (Administrative Procedures Act – In Excess of Statutory Authority)


   105. The allegations contained in paragraphs 1 through 104 above are incorporated as though

        fully set forth herein.

   106. The FDA Letter and other agency action and inaction described herein constituted final

        agency action for which Dr. Gomperts and/or Dr. Gomperts’ patients have no other

        adequate remedy within the meaning of 5 U.S.C. § 704.

   107. The FDA Letter and other agency action and inaction described herein is in excess of the

        FDA’s statutory authority under the FDCA in violation of 5 U.S.C. 706(2)(C).


                                        COUNT V
       (Administrative Procedures Act – Arbitrary, Capricious and Abuse of Discretion)


   108. The allegations contained in paragraphs 1 through 107 above are incorporated as though

        fully set forth herein.

   109. The FDA Letter and other agency action and inaction described herein constituted final

        agency action for which Dr. Gomperts and/or Dr. Gomperts’ patients have no other

        adequate remedy within the meaning of 5 U.S.C. § 704.



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   110. The FDA Letter and other agency action and inaction described herein treated similarly

         treated physicians and their patients differently without justification and therefore was

         arbitrary, capricious, an abuse of discretion and otherwise not in accordance with law in

         violation of 5 U.S.C. § 706(2)(A).


                                   PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully request that the Court enter judgement in their favor and

   1) Declare, pursuant to 28 U.S.C. § 2201, that the seizing of medicine prescribed by Dr.

       Gomperts for women in the U.S. who seek her assistance as a licensed physician in

       terminating their unwanted pregnancies during the early stages of those pregnancies by the

       FDA or other federal agencies at the FDA’s direction as threatened in the FDA Letter dated

       March 8, 2019, violates Dr. Gomperts’ U.S. patients’ rights to liberty and privacy as

       guaranteed by the due process clause of the Fifth Amendment to the U.S. Constitution.

   2) Declare, pursuant to 28 U.S.C. § 2201, that the blocking of transfers of funds between Dr.

       Gomperts’ patients and Dr Gomperts and/or Aid Access by the FDA or other federal

       agencies at the FDA’s direction as threatened in the FDA Letter dated March 8, 2019,

       violates Dr. Gomperts’ U.S. patients’ rights to liberty and privacy as guaranteed by the due

       process clause of the Fifth Amendment to the U.S. Constitution.

   3) Declare, pursuant to 28 U.S.C. § 2201, that the prosecution of Dr. Gomperts and/or her

       U.S. patients who seek her assistance as a licensed physician in terminating their unwanted

       pregnancies during the early stages of those pregnancies under 21 U.S.C. § 331(a) and/or

       21 U.S.C. § 331(d) or the prosecution of Dr. Gomperts and/or her U.S. patients under 18

       U.S.C. § 371 for conspiracy to violate 21 U.S.C. § 331(a) and/or 21 U.S.C. § 331(d) would




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      violate Dr. Gomperts’ and her U.S. patients’ rights to liberty and privacy as guaranteed by

      the due process clause of the Fifth Amendment to the U.S. Constitution.

   4) Declare, pursuant to 28 U.S.C. § 2201, that the seizing of medicine prescribed by Dr.

      Gomperts for women in the U.S. who seek her assistance as a licensed physician in

      terminating their unwanted pregnancies during the early stages of those pregnancies by the

      FDA or other federal agencies at the FDA’s direction as threatened in the FDA Letter dated

      March 8, 2019, violates Dr. Gomperts’ U.S. patients’ right to equal protection under the

      Fifth Amendment to the United States Constitution by treating Dr. Gomperts and her

      patients differently from other similarly situated parties without a sufficient state interest.

   5) Declare, pursuant to 28 U.S.C. § 2201, that the blocking of transfers of funds between Dr.

      Gomperts’ patients and Dr Gomperts and/or Aid Access by the FDA or other federal

      agencies at the FDA’s direction as threatened in the FDA Letter dated March 8, 2019,

      violate Dr. Gomperts’ U.S. patients’ right to equal protection under the Fifth Amendment

      to the United States Constitution by treating Dr. Gomperts and her patients differently from

      other similarly situated parties without a sufficient state interest.

   6) Declare, pursuant to 28 U.S.C. § 2201, that the prosecution of Dr. Gomperts and/or her

      U.S. patients who seek her assistance as a licensed physician in terminating their unwanted

      pregnancies during the early stages of those pregnancies under 21 U.S.C. § 331(a) and/or

      21 U.S.C. § 331(d) or the prosecution of Dr. Gomperts and/or her U.S. patients under 18

      U.S.C. § 371 for conspiracy to violate 21 U.S.C. § 331(a) and/or 21 U.S.C. § 331(d) would

      violate Dr. Gomperts’ U.S. patients’ right to equal protection under the Fifth Amendment

      to the United States Constitution by treating Dr. Gomperts and her patients differently from

      other similarly situated parties without a sufficient state interest.



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   7) Declare, pursuant to 28 U.S.C. § 2201, that the FDA Letter and other agency action and

      inaction described herein violates the Administrative Procedures Act.

   8) Enter an injunction prohibiting Defendants, their employees, agents and successors in

      office, from taking any action, directly or indirectly through another federal agency, that

      would impede or delay the delivery of misoprostol and mifepristone prescribed by Dr.

      Gomperts to her patients in the United States.

   9) Enter an injunction prohibiting Defendants, their employees, agents and successors in

      office, from taking any action, directly or indirectly through another federal agency, that

      would cause criminal charges to be brought against Dr. Gomperts and/or Aid Access and/or

      Dr. Gomperts’ patients based upon Dr. Gomperts’ prescribing of misoprostol and

      mifepristone for her patients seeking to terminate their pregnancies prior to viability in the

      United States.

   10) Enter a preliminary injunction prohibiting Defendants, their employees, agents and

      successors in office, from taking any action, directly or indirectly through another federal

      agency, that would impede or delay the delivery of misoprostol and mifepristone prescribed

      by Dr. Gomperts to her patients seeking to terminate their pregnancies prior to viability in

      the United States.

   11) Enter a preliminary injunction prohibiting Defendants, their employees, agents and

      successors in office, from taking any action, directly or indirectly through another federal

      agency, that would cause criminal charges to be brought against Dr. Gomperts and/or Aid

      Access and/or Dr. Gomperts’ patients based upon Dr. Gomperts’ prescribing of

      misoprostol and mifepristone for her patients seeking to terminate their pregnancies prior

      to viability in the United States.



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   12) Award to Plaintiffs costs, expenses, and attorneys’ fees pursuant to 28 U.S.C. § 2412; and

   13) Award such other, further, and different relief as the court deems just and proper.



   [Signatures on following page]




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